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                                          STATEMENT IN
                                SUPPORT OF PROBABLE CAUSE

IN RE: Fernando PATINO Jr.; and
       Carlos Alberto GARCIA-Guajardo

I, Christopher L. Joliet II, declare and state as follows:

   1. In late December 2024, the Laredo Police Department (LPD) and the Bureau of Alcohol,
      Tobacco, Firearms and Explosives (ATF) were in communication with Fernando
      PATINO Jr. who arranged to sell a Glock pistol quipped with a Machinegun Conversion
      Device (MCD), commonly referred to as a “switch”. PATINO Jr. agreed to sell the
      firearm and MCD for $1,100.

   2. On or about January 2, 2025, an LPD Undercover (UC) made contact with PATINO Jr.
      and another individual, identified as Carlos Alberto GARCIA-Guajardo, via messenger
      application. GARCIA-Guajardo informed the LPD UC that the firearm and MCD were
      ready for him to purchase.


   3. GARCIA-Guajardo instructed the LPD UC to come to an address on the 3000 block of
      Monterrey Street, Laredo, TX. 78046 to conduct the purchase. The LPD UC arrived at
      the address where he observed GARCIA-Guajardo and PATINO Jr. standing outside of
      the address. The LPD UC provided PATINO Jr. $1,100 of ATF buy money at which
      time PATINO Jr. provided the LPD UC with a Glock, model 22, .40 caliber pistol
      bearing serial number BVNL394, equipped with a Machinegun Conversion Device.


   4. The LPD UC left the area, and the firearm was placed into the LPD evidence room and
      subsequently transferred into ATF custody.


   5. ATF Special Agents conducted a preliminary examination of the firearm and MCD and
      found the firearm’s function and characteristics to be consistent with that of a
      machinegun, regulated under the National Firearms Act (NFA).


   6. Possession or transfer of an unregistered firearm, required to be registered, under the
      National Firearms Act is a violation of 18 USC 922(o), possession or transfer of an
      unregistered machinegun.


   7. In January 2024, the Laredo Police Department (LPD) and the Bureau of Alcohol,
      Tobacco, Firearms and Explosives (ATF) were in communication with Carlos Alberto
      GARCIA-Guajardo who arranged to sell a Glock pistol quipped with a Machinegun
      Conversion Device (MCD), commonly referred to as a “switch”. GARCIA-Guajardo
      agreed to sell the firearm and MCD for $1,200.
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    8. On or about January 22, 2025, an LPD Undercover (UC) made contact with GARCIA-
       Guajardo and another individual identified as Fernando PATINO Jr. via messenger
       application regarding the purchase of the firearm. PATINO Jr. called the LPD UC and
       instructed him to go to an address on the 3000 block of Monterrey Street, Laredo, TX
       78046.


    9. The LPD UC arrived at the address on the 3000 block of Monterrey Street, Laredo, TX.
       78046 to conduct the purchase. Upon arrival, the LPD UC observed PATINO Jr. waiting
       outside of the residence. PATINO Jr. greeted the LPD UC and then PATINO Jr. went to
       the rear of the residence and returned with GARCIA-Guajardo, who was in possession of
       a Glock, model 22, .40 caliber pistol bearing serial number BBXD668, equipped with a
       Machinegun Conversion Device. GARCIA-Guajardo provided the LPD UC with the
       firearm and the LPD UC provided GARCIA-Guajardo $1,200 of ATF buy money for the
       firearm.


    10. The LPD UC left the area, and the firearm was placed into the LPD evidence room and
        subsequently transferred into ATF custody.


    11. ATF Special Agents conducted a preliminary examination of the firearm and MCD and
        found the firearm’s function and characteristics to be consistent with that of a
        machinegun, regulated under the National Firearms Act (NFA).


    12. Possession or transfer of an unregistered firearm, required to be registered, under the
        National Firearms Act is a violation of 18 USC 922(o), possession or transfer of an
        unregistered machinegun.


I declare (certify, verify, or state) under penalty of perjury that the forgoing is true and correct to

the best of my knowledge.

Executed on the ___30th__________ of __January________, 2025.




                                                            _________________________________
                                                                 ______________________
                                                         Christopher L. Joliet II, ATF Special Agent
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Having reviewed the foregoing declaration, I find probable cause that the defendant(s) named

above have committed an offense against the laws of the United States and may therefore be

further detained pending presentment before a judicial officer.




                  30th              January
Executed on the ________day of _______________________, 2025




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                                                         Diana
                                                          iana Song Quiroga
                                                         UNITED STATES MAGISTRATE JUDGE
